Case: 7:24-cr-00001-KKC-EBA   Doc #: 29 Filed: 10/29/24   Page: 1 of 8 - Page
                                 ID#: 90
Case: 7:24-cr-00001-KKC-EBA   Doc #: 29 Filed: 10/29/24   Page: 2 of 8 - Page
                                 ID#: 91
Case: 7:24-cr-00001-KKC-EBA   Doc #: 29 Filed: 10/29/24   Page: 3 of 8 - Page
                                 ID#: 92
Case: 7:24-cr-00001-KKC-EBA   Doc #: 29 Filed: 10/29/24   Page: 4 of 8 - Page
                                 ID#: 93
Case: 7:24-cr-00001-KKC-EBA   Doc #: 29 Filed: 10/29/24   Page: 5 of 8 - Page
                                 ID#: 94
Case: 7:24-cr-00001-KKC-EBA   Doc #: 29 Filed: 10/29/24   Page: 6 of 8 - Page
                                 ID#: 95
Case: 7:24-cr-00001-KKC-EBA   Doc #: 29 Filed: 10/29/24   Page: 7 of 8 - Page
                                 ID#: 96
Case: 7:24-cr-00001-KKC-EBA   Doc #: 29 Filed: 10/29/24   Page: 8 of 8 - Page
                                 ID#: 97
